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                          UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF HAWAII

  Venice PI, LLC et al,                         )   Case No.: 1:19-cv-00169-LEK-KJM
                                                )   (Copyright)
                      Plaintiffs,               )
       vs.                                      )   DECLARATION OF COUNSEL
                                                )
  DOE 1, et al.                                 )
                                                )
                      Defendants.               )
                                                )

                             DECLARATION OF COUNSEL

          KERRY S. CULPEPPER, hereby declares under penalty of law that the

 following is true and correct:

          1.     I am an attorney and represent the Plaintiffs. I have personal knowledge

 of the matters stated herein. This declaration is given in support of Plaintiffs’

 Request for Reconsideration of the Order Denying Plaintiff’s Ex Parte Motion for

 Leave to Request Issuance of Order Granting Leave to Request Letters of Request

 prior to a Rule 26(f) Conference.

                 Newly Discovered Facts Regarding Defendant DOE 1 dba YIFY

          2.     On May 21, 2019, Cloudflare provided Plaintiff Venice PI, LLC

 customer information for the account YIFYMOVIES.IS.

          3.     The customer information included a 94 page audit log showing the IP

 address login history and all websites under the account.

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          4.     The audit log indicates that this Cloudflare account also hosted

 numerous other movie piracy websites such as: fmoviesfree.is; 123moviesfree.is;

 watchasap.is; cmovieshd.to; gomoviesfree.is; 9movies.is and gomovies.to.

          5.     The audit log also indicates that the website yifymovies.is was hosted

 at or associated with IP addresses owned by the New Jersey server company Choopa

 LLC dba Vultr (“Choopa”).

          6.     On May 23, 2019 Choopa provided Plaintiff Bodyguard Productions,

 Inc. account information for the customer associated with the IP addresses for

 yifymovies.is. Exhibit “1” is a true and accurate duplicate of the document showing

 the account information provided by Choopa. The account information indicates

 that “Nguyen Manh” is the account name, resides in Vietnam, used the email address

 “justyousmileme@gmail.com” of Google, Inc. to communicate with Choopa, and

 used PayPal to make payments to Choopa as recently as April 7, 2019.

          7.     If an address had been included in the account information, Plaintiffs

 would have promptly withdrawn the Motion for Early Discovery with respect to

 Defendant DOE 1.

          8.     On May 23, 2019, I sent an email to Nguyen Manh via

 justyousmileme@gmail.com offering to settle this matter if he would agree to cease

 all movie piracy activities and pay damages. I never received a reply. However, the

 next day I noticed that the movie piracy websites fmoviesfree.is; 123moviesfree.is;

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 watchasap.is; cmovieshd.to; gomoviesfree.is; 9movies.is and gomovies.to had been

 deleted and the domains were made available for purchase.

          9.     The Registrar Namecheap provided documents showing the

 identification information and payment records for the customer associated with

 YIFYMOVIES.IS on June 27, 2019 to LHF Productions, Inc. (an affiliated company

 of Plaintiff Millennium Funding, Inc.). The documents confirm that the domains

 were immediately purchased by a third party on May 24, 2019.

                 Newly Discovered Facts Regarding Defendant DOE 2 dba YTS

          10.    Cloudflare provided audit logs (of nearly a 1000 pages) for the YTS

 websites and customer information to Plaintiff Bodyguard Productions, Inc. on June

 6, 2019. The audit logs for the YTS websites indicate that this Cloudflare account

 also hosted numerous other movie piracy websites such as: piratetorrents.net,

 limetorrents.cc, yourbittorrent.com, rarbg.to, torrentbutler.eu, piratetorrents.net,

 thepiratebay.se.net, torrentz.eu, 1337x.to and extratorrent.cc.

          11.    The audit logs also indicate that the YTS websites were hosted at or

 associated with IP addresses owned by the New York server company Digital Ocean,

 Inc.

          12.    From April 11, 2019 to May 23, 2019, an individual (“Mr. Segaran”)

 holding himself as representing Defendant DOE 2 communicated with me from

 email address segaran@tutanota.com.

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          13.    Mr. Segaran refused to provide identification information, sign a

 waiver of service or conduct a Rule 26(f) conference, but did make offers of

 settlement. I made clear to Mr. Segaran that a condition of a settlement would be

 removal of all motion pictures of Plaintiffs’ as well as of their affiliated companies

 from the YTS websites.

          14.    Although we were unable to arrive at an agreement, Mr. Segaran agreed

 to remove Plaintiffs’ motion pictures from the YTS website. He sent an email on

 May 13, 2019 to me stating, “We have received good news, confirmation that all the

 titles you have sent have been permanently removed from the website and filters put

 in place to avoid reupping.”

          15.    I received no further communications with Mr. Segaran after May 23,

 2019.

          16.    In early June I noticed that Defendant DOE 2 had begun redirecting the

 yts.ag and yts.am websites to the new website “yts.lt” and completely rebranded

 itself as YTS.LT.

          17.    Below is a true and accurate screenshot of the yts.lt website as it

 appeared on July 6, 2019.




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          18.    The new website yts.lt once again apparently allows users to download

 torrent files of Plaintiffs’ motion pictures, but only if the user creates a YTS account

 and logs in.

          19.    Below is a true and accurate screenshot of the yts.lt website as it

 appeared on July 6, 2019 when Plaintiff Venice PI, LLC’s motion picture Once

 Upon a Time in Venice was entered into the searchbar.




          20.    Exhibit “2” is a true and accurate copy of the ICANN Uniform Domain

 Name            Dispute     Resolution         Policy     from        the      website

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 https://www.icann.org/resources/pages/policy-2012-02-25-en [retrieved on July 6,

 2019].

          21.    I declare under penalty of perjury that the foregoing is true and correct.



          DATED: Kailua-Kona, Hawaii, July 7, 2019.

                                     CULPEPPER IP, LLC


                                     /s/ Kerry S. Culpepper
                                     Kerry S. Culpepper

                                     Attorney for Plaintiffs




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